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                                IN THE UNITED STATES DISTRICT COURT
                                 FOR THE WESTERN DISTRICT OF TEXAS
                                          AUSTIN DIVISION

T.S., by and through his next friend, P.O., and           §
G.A., individually and on behalf of all others            §
similarly situated,                                       §
                                                          §
                  Plaintiffs,                             §
                                                          §
v.                                                        §                      1:19-CV-809-RP
                                                          §
THE BURKE FOUNDATION d/b/a                                §
BURKE CENTER FOR YOUTH,                                   §
                                                          §
                  Defendant.                              §

                                                     ORDER

         Before the Court is Plaintiff T.S., by and through his next friend, P.O., and G.A.’s, individually and

on behalf of all others similarly situated, (collectively, “Plaintiffs”) motion for leave to file their first

amended complaint. (Dkt. 16). Plaintiffs move to amend their complaint to substitute N.O. as next

of friend for T.S. because his original next friend, P.O., is no longer T.S.’s conservator. (Id. at 1).

N.O. has given their consent for T.S. to become a party plaintiff in this lawsuit. (T.S. Consent to

Sue, Dkt. 17, at 1). Aside from this substitution, Plaintiffs have made no other changes to their

complaint. (Id.). Defendant The Burke Foundation d/b/a Burke Center for Youth does not oppose

this motion. (Id.).

         The Federal Rules of Civil Procedure permit a party to amend its pleading “once as a matter

of course,” but afterwards “only with the opposing party’s written consent or the court’s leave.”

Fed. R. Civ. P. 15(a)(1)–(2). Courts are directed to “freely give leave [to amend] when justice so

requires.” Fed. R. Civ. P. 15(a)(2). Rule 15(a) “requires the trial court to grant leave to amend freely,

and the language of this rule evinces a bias in favor of granting leave to amend.” Lyn–Lea Travel

Corp. v. Am. Airlines, 283 F.3d 282, 286 (5th Cir. 2002) (citation and internal quotation marks

omitted). “[A]bsent a ‘substantial reason’ such as undue delay, bad faith, dilatory motive, repeated

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failures to cure deficiencies, or undue prejudice to the opposing party, ‘the discretion of the district

court is not broad enough to permit denial.’” Mayeaux v. La. Health Serv. & Indem. Co., 376 F.3d 420,

425 (5th Cir. 2004) (quoting Dussouy v. Gulf Coast Inv. Corp., 660 F.2d 594, 598 (5th Cir. 1981)).

        The Court finds that there is no substantial reason to deny leave and that it is in the interest

of justice to allow Plaintiffs leave to file their first amended complaint.

        Accordingly, IT IS ORDERED that Plaintiffs’ Motion for Leave to File Their First

Amended Complaint, (Dkt. 16), is GRANTED.

        SIGNED on December 20, 2019.



                                               _____________________________________
                                               ROBERT PITMAN
                                               UNITED STATES DISTRICT JUDGE




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